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                     UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

                                               §
JOHN A. PATTERSON, JOHN BOYT,
                                               §
JANIS FORT, RUBY ALSBURY,
                                               §
RAYMOND BRUNTMYER, JUDY
                                               §
HENSLEY, DOUGLAS KELDER,
                                               §
                                               §
       Plaintiffs,
                                               §
                                               §
v.                                                  Civil Action No. SA-17-CV-467-XR
                                               §
                                               §
DEFENSE POW/MIA ACCOUNTING
                                               §
AGENCY, DIRECTOR OF DPAA FERN
                                               §
SUMPTER WINBUSH, U.S.
                                               §
DEPARTMENT OF DEFENSE, SEC OF
                                               §
DEFENSE JAMES MATTIS, AMERICAN
                                               §
BATTLE MONUMENTS COMMISSION,
                                               §
ROBERT DALLESSANDRO, IN HIS
                                               §
OFFICIAL CAPACITY AS ACTING
                                               §
SECRETARY AMERICAN BATTLE
                                               §
MONUMENTS COMMISSION,
                                               §
                                               §
       Defendants.
                                               §

                                            ORDER

       On this date, the Court considered the status of the above-captioned case. This case is set

for a status conference and hearing on all pending motions on Wednesday, June 27, 2018, at

10:30 a.m. in Courtroom 3.

       It is so ORDERED.

       SIGNED this 13th day of June, 2018.




                                            XAVIER RODRIGUEZ
                                            UNITED STATES DISTRICT JUDGE
